                 EXHIBIT E


Case 1-20-01016-CLB, Doc 303-5, Filed 11/21/23, Entered 11/21/23 16:07:11,
                  Description: Exhibit E - Email, Page 1 of 3
From:                 Schaeffer, Dennis
To:                   Leah Costanzo
Cc:                   Jim Orr; keleonard@kslnlaw.com; Schaeffer, Dennis
Subject:              RE: Evans, Billy and Heather v. Southtowns Catholic School, et al.: Index No.: 801322/2019
Date:                 Wednesday, July 5, 2023 2:19:02 PM


Leah -

The Diocese has not made a stay motion in the Chapter 11 case regarding this lawsuit.

As it happens, the ongoing dispute between the Diocese and Lipsitz Green regarding that firm's CVA
cases came to a head after our most recent conference with Judge Vacco. Two or three weeks ago
(sorry to be less than precise on timing), a motion was argued and submitted to Judge Bucki on the
issue of whether the Bankruptcy Court should order a stay of the Lipsitz Green firm's CVA cases
where the Diocese is named as a defendant. I'm unaware of whether a decision has been issued on
that motion. My understanding is that, once that motion is decided, the Diocese will determine what
next steps to take (if any) regarding this action.

Please let me know if you have any other questions.

Also, when did you have this case calendared for another conference?

Finally, I don't return from Alaska until late in the day on Friday 7/7.



Dennis K. Schaeffer
716.416.7049 Direct
716.341.4385 Cell


From: Leah Costanzo <lcostanzo@steveboyd.com>
Sent: Monday, June 26, 2023 2:48 PM
To: Schaeffer, Dennis <dschaeffer@bsk.com>
Cc: Jim Orr <JOrr@steveboyd.com>
Subject: Evans, Billy and Heather v. Southtowns Catholic School, et al.: Index No.: 801322/2019

                External Email: Use caution before clicking links or opening attachments.
Hi Dennis,

Did you ever file a motion in bankruptcy court per our discussion with the Judge on the underlying
motion? I see we have this on for a conference on Monday, but I did not see anything come through.
Thanks,

Leah

Leah Costanzo, Esq.
Steve Boyd, P.C.

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2969 Main Street, Suite 100
Buffalo, NY 14214
P: (716) 400-0000
F: (716) 839-9959
lcostanzo@steveboyd.com

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